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                                                 U.S. Department of Justice


                                                 United States Attorney
                                                 Eastern District of New York
MPR/RCH/EMR                                      271 Cadman Plaza East
F. #2019R00927                                   Brooklyn, New York 11201


                                                 March 1, 2021

By FedEx

Cesar DeCastro, Esq.
7 World Trade Center, 34th Floor
New York, NY 10007

                Re:   United States v. Genaro Garcia Luna
                      Criminal Docket No. 19-576 (BMC)

Dear Counsel:

               Enclosed please find the government’s supplemental discovery in accordance
with Rule 16 of the Federal Rules of Criminal Procedure. Please note that the enclosed
discovery contains Protected Material that should be handled in accordance with the
Protective Order. See Dkt. No. 19. The government also requests reciprocal discovery from
the defendant.
I.     The Government’s Discovery

       Enclosed please find:

        Photographs and video, Bates-numbered 0000980433-0000980478, 0000983940-
         0000983964 and 000984050;
        Statements of the defendant, Bates-numbered 0000980479-0000980480;
        Files from Mexican law enforcement, Bates-numbered 0000980481-0000981466;
        Files from Panamanian law enforcement, Bates-numbered 0000981467-
         0000983920;
        Intentionally left blank, Bates-numbered 0000981495-0000981524, 0000983965-
         0000984014, 0000984016-0000984030 and 0000984041-0000984049;
        Copies of the defendant’s passport, Bates-numbered 0000983921-0000983939;
        Financial Records, Bates-numbered 0000984015-0000984040, 0000984054-
         0000991751, 0000991758-0001012290 and 0001013087-0001015651;
        Records from the Department of State, Bates-numbered 0000984051-
         0000984053;
        Property Records, Bates-numbered 0000991752-0000991757, 0001012291-
         0001012302 and 0001012334;
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        Excerpts of a book, Bates-numbered 0001012303-0001012314;
        A letter written by the defendant and a draft translation of the letter, Bates-
         numbered 0001012315-0001012327;
        Commissary records, Bates-numbered 0001012328-0001012331;
        Recordings of telephone calls made from the Metropolitan Detention Center,
         Bates-numbered 001012332;
        Reports and notes reflecting prior statements of certain individuals, as detailed in
         a separate letter sent to you today, Bates-numbered 0001012335-0001012697; and
        Documents from the Mexican government related to a forfeiture proceeding
         against the defendant in Mexico, as well as accompanying draft translations (the
         “Mexican Forfeiture Notice”), Bates-numbered 0001012698-0001013086.

              With respect to the Mexican Forfeiture Notice, the government will contact
you separately to arrange personal service of those documents on the defendant, in
accordance with the procedures requested by the Mexican government, as set forth therein.
              In addition, separately today, Assistant United States Attorney Francisco
Navarro is sending you the following:

        A hard drive containing recordings of the defendant, Bates-numbered
         0001012333, which is Protected Material.1
Please note that AUSA Navarro is in charge of a filter team that is reviewing the materials
contained on the hard drive. That review is ongoing. If you have any questions regarding
these materials, please contact AUSA Navarro before reaching out to the prosecution team.




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              The hard drive, as well as the documents Bates-numbered 0001012315-
001012332, were a portion of the records subject to the government’s delayed disclosure
motion. See Dkt. No. 54.

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               If you have any questions or requests regarding further discovery or a
disposition of this matter, please do not hesitate to contact me.

                                                  Very truly yours,

                                                  SETH D. DUCHARME
                                                  Acting United States Attorney

                                           By:     /s/
                                                  Michael P. Robotti
                                                  Ryan C. Harris
                                                  Erin M. Reid
                                                  Assistant U.S. Attorneys
                                                  (718) 254-7000

Enclosures

cc:    Clerk of Court (BMC) (via ECF)




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